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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

UNITED STATES OF AMERICA,      §
                               §
     Plaintiff,                §
                               §
v.                             § CRIMINAL ACTION NO.
                               § 4:24-CR-00001-Y-1
JOHN ANTHONY CASTRO,           §
                               §
     Defendant.                §
                     DEFENDANT’S WITNESS LIST

         John Castro, by and through counsel, discloses witnesses designated to testify for the

defense.

    1.        John Castro

    2.        Joshua Scott Milam

    3.        Alfonso Isai Garza

    4.        Ismael Garza

    5.        David Obed Garza

    6.        Alexander Dominic Gomez

    7.        Mo Iqbal



Dated: May 14, 2024                                     Respectfully submitted,

                                                        By: /s/Jason B. Freeman

                                                        Jason B. Freeman
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                                                       By: /s/Franklyn Mickelsen

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                                                       ATTORNEYS FOR DEFENDANT

                                 CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing motion was served on all counsel

of record via CM/ECF, on this 14th day of May 2024.

                                                       /s/Jason B. Freeman




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